      Case 5:20-cv-00163 Document 18 Filed on 10/19/21 in TXSD Page 1 of 2
                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                             October 19, 2021
                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk

                             LAREDO DIVISION

JUAN MANUEL HERNANDEZ,                     §
                                           §
                                           §
VS.                                        §   CIVIL ACTION NO. 5:20-CV-163
                                           §   CRIMINAL ACTION NO. 5:18-CR-546-1
                                           §
UNITED STATES OF AMERICA                   §

                                      ORDER

       United States Magistrate Judge John A. Kazen entered a Report and

Recommendation in accordance with 28 U.S.C. § 636(b)(3), recommending that the

Court deny Petitioner’s Section 2255 Motion (Civ. Dkt. No. 1) without prejudice and

deny Petitioner a certificate of appealability (Civ. Dkt. No. 11). Because Petitioner

did not receive a timely copy of the Report and Recommendation, the Court extended

the deadline to object to the Magistrate Judge’s findings (Civ. Dkt. No. 13). The Court

has now received Petitioner’s objections (Civ. Dkt. No. 15).

       The Court conducts a de novo review of Petitioner’s objections and applies a

plain-error standard of review for the remainder of the Magistrate Judge’s findings

and recommendations. The Court finds that Petitioner’s objections merely restate the

arguments already reviewed by the Magistrate Judge and fail to address the fact that

Petitioner’s motion is an unauthorized successive application for relief under Section

2255. Having considered the entire record, the Court overrules Defendant’s objections

and hereby ADOPTS the Report and Recommendation (Civ. Dkt. No. 11) as the

findings and opinion of the Court. Accordingly, Petitioner’s Section 2255 Motion (Civ.
     Case 5:20-cv-00163 Document 18 Filed on 10/19/21 in TXSD Page 2 of 2




Dkt. No. 1) is DENIED WITHOUT PREJUDICE to refiling should petitioner secure

the necessary authorization from the United States Court of Appeals for the Fifth

Circuit. Further, a certificate of appealability is DENIED. The Clerk of Court is

DIRECTED to mail Petitioner a copy of this ORDER, return receipt requested, at

the address indicated in Petitioner’s most recent filing.

      It is so ORDERED.

      SIGNED October 19, 2021.



                                           ___________________________________
                                           Marina Garcia Marmolejo
                                           United States District Judge




                                           2
